Case 2:23-cv-02832-MWF-KS Document 15 Filed 08/11/23 Page 1 of 2 Page ID #:88

     .


1
2
3
4
5
6
7
8                                  UNITED STATES DISTRICT COURT
9                                 CENTRAL DISTRICT OF CALIFORNIA
10                                      WESTERN DIVISION
11
12       ELIZABETH KERMANI, individually             Case No. 2:23-cv-02832-MWF(KSx)
         and on behalf of all others similarly
13
         situated,                                   ORDER GRANTING JOINT
14                                                   STIPULATION FOR EXTENSION
                     Plaintiff,                      OF TIME FOR DEFENDANT TO
15
                                                     RESPOND TO PLAINTIFF’S CLASS
16       v.                                          ACTION COMPLAINT
17
         GODIVA CHOCOLATIER, INC.,                   Dept.: Courtroom 5A
18                                                   Judge: Honorable Michael W. Fitzgerald
                     Defendant.
19
20
21
22
23
24
25
26
27
28

     ORDER FOR EXTENSION OF TIME                 1       CASE NO. 2:23-CV-02832-MWF(KSX)
Case 2:23-cv-02832-MWF-KS Document 15 Filed 08/11/23 Page 2 of 2 Page ID #:89

     .


1          Having considered the Parties’ Stipulation to Extend Time For Defendant to
2    Respond to Plaintiff’s Class Action Complaint, and pursuant to Civil Local Rules 5-4.4,
3    11, 7-1, and 52-4.1,
4          IT IS HEREBY ORDERED THAT the Stipulation is GRANTED. Defendant’s
5    Response to Plaintiff’s Complaint shall be due on September 19, 2023.
6          IT IS SO ORDERED.
7
8
     Dated: August 11, 2023                        ______________________________
9                                                  MICHAEL W. FITZGERALD
10                                                 United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER FOR EXTENSION OF TIME               2       CASE NO. 2:23-CV-02832-MWF(KSX)
